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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                               SOUTHERN DIVISION
                                     LONDON

CIVIL ACTION NO.: 6:18-CV-231-KKC


UNITED STATES OF AMERICA                                                           PLAINTIFF


VS:                  ANSWER, COUNTERCLAIM AND CROSS-CLAIM
                      OF CUMBERLAND SECURITY BANK, INC.


LOGAN EVERETT VIERS;
CUMBERLAND SECURITY BANK,
INC.; DEERE & COMPANY;
GATEWAY ONE LENDING & FINANCE;                                                     DEFENDANTS

AND

CUMBERLAND SECURITY BANK, INC.                                       THIRD PARTY PLAINTIFF


VS:                           THIRD PARTY COMPLAINT


JAMES ALLEN GIRDLER                                                  THIRD PARTY DEFENDANT


                                * * * * * * * * * *

      Comes    now    the     Defendant,            Cumberland       Security   Bank,    Inc.
("CSB"),   and for its Answer,             Counterclaim,             Cross-Claim and Third

Party Complaint, states and alleges as follows:

                                        ANSWER

      1.      The Complaint fails to state a claim against CSB upon
which relief can be granted and therefore should be dismissed.

      2.      CSB states that it is without knowledge and information
sufficient     to    form a    belief      as       to    the   truth of     the    averments

contained Paragraphs 1,          2,   3,    4,       5,   6,    7,   9,   10 and 12 of the



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Complaint and therefore denies the same.
        3.       CSB admits the averments contained in Paragraph 8 and

11 of the Complaint.
        4.       CSB affirmatively asserts its interest in the chattel
property which is more specifically described as "Feeder Cattle"
as set forth in Paragraph 8 of the Complaint.
        5.       CSB    denies     all     remaining      averments     contained   in   the
Complaint not heretofore specifically admitted.

              COUNTERCLAIM, CROSS-CLAIM AND THIRD PARTY COMPLAINT

        1.       The defendant,          CSB,    is a banking ins ti tut ion licensed
to do business under the laws of the Commonwealth of Kentucky,
with its principal place of business being 107 Main Street South,
Somerset, Kentucky 42501.
        2.       That on January 14, 2015,               the defendant,     Logan Everett
Viers        ("Viers") ,     executed Promissory Notes with CSB in order to
borrow the          sum of     $75,218.42.            That on January 25,       2016,    the
defendant, Viers,            renewed the above-described Promissory Note and
executed        a    Renewal       Note.         That    on    February   23,   2018,    the
defendant,          Viers,   executed a Change in Terms Agreement with CSB
again renewing the afore-referenced Note.
        3.       That      under     the        Change    in    Terms     Agreement,     the
defendant, Viers, was to make one payment to CSB of principal and
interest on August 22, 2018.                     Said Defendant is in default under
the terms of the Notes in that he has failed to make payment to
CSB.     Copies of said Notes are attached hereto as Exhibits A,                           B


                                                  2
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and C.
        4.        That   in order      to     secure         payment       of    said Notes,          the
defendant, Viers, gave to CSB a security interest in feeder cattle
evidenced by said Promissory Notes and a UCCI Financing Statement
filed with the Kentucky Secretary of State's Office on January 14,

2015.        A copy of said UCCI is attached hereto as Exhibit D.
        5.        That   as     of   September          11,        2018,    the    total       sum     of
$27,180.14 is owed by the defendant, Viers,                                to CSB plus interest
thereon at the rate of 6.79% per annum until paid in full.
        6.        That   CSB    should       be    adjudged          to    have    a    first        lien
against the above referenced feeder cattle in accordance with the
filing       of    its    UCC   I.         Further,         the    Court     should     order        that
possession of            said feeder        cattle be given to                   CSB   for    sale     to
satisfy its lien herein pursuant to KRS Chapter 355.
        7.        That   should      the    sale       of    the    above       referenced      feeder
cattle be          insufficient to satisfy the                      judgment granted herein,
that the defendant,              Logan Everett Viers,                 be adjudged liable to
this defendant for any deficiency.
        8.        That to further secure payment of the sums owed under
the afore-referenced Notes, and to entice CSB to loan the sums to
Viers,       the defendant, James Allen Girdler ("Girdler"), executed a
Commercial Guaranty guaranteeing payment of said Notes.                                      A copy of
said Guaranty is attached as Exhibit E.
        9.        As a result of Viers' default referenced above, Girdler
should be held jointly and severally liable with Logan Everett
Viers for the total amount owed to CSB referenced in Paragraph 5


                                                   3
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above.
      10.   That   this        defendant       should       be    granted     its     costs
incurred in this action including a reasonable attorney's fee.
      WHEREFORE,    the    defendant/Third           Party Plaintiff,         Cumberland
Security Bank, Inc., respectfully demands judgment as follows:
      1.    Judgment      against    the   defendants,           Logan   Everett      Viers
and James Allen Girdler,          jointly and severally,             in the amount of

$27,180.14 as of September 11, 2018, plus interest thereon at the
rate of 6.79% per annum until paid in full.
      2.    That   this defendant/Third Party Plaintiff be adjudged
to have a first lien on the feeder cattle referenced above.

      3.    That Viers be ordered to turn possession of the feeder
cattle over to CSB for sale pursuant to KRS Chapter 355 and the
net   sale proceeds       be    applied to      the    above      referenced       judgment
amount.
      4.    That CSB be awarded its costs expended in this action
including   a   reasonable       attorney's      fee    as       provided    for    in   the
respective loan documents.
      5.    That   CSB     be    granted       any    and    all     other    legal      and
equitable relief to which it may be deemed entitled.
                                      Respectfully submitted,


                                      ~p~}~~
                                      ru:::PTON
                                      404 ROY KIDD AVENUE
                                      P.O. DRAWER 1284
                                      CORBIN, KY 40702
                                      TELEPHONE:   (606) 528-1166
                                       tnt@tiptonandtipton.com


                                           4
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                                   CERTIFICATE OF SERVICE
     This    is     to       certify       that   a     true       and    exact     copy     of   the
foregoing was this           _tl         day of September, 2018, deposited in the
United States mail, postage prepaid, addressed for delivery to the
following:
     1.      Hon.    Robert         M.    Duncan,       Jr.,       United       States     Attorney,
Hon. Thomas Lee Gentry, Assistant United States Attorney, 260 West
Vine Street, Suite 300, Lexington, Kentucky 40507-1671;
     2.      Logan       Everett         Viers,       195    Old    Salts       Road,      Somerset,
Kentucky 42503;
     3.      James       Allen      Girdler,          3350   East    Highway        452,     Eubank,
Kentucky 42567;
     4.      Deere       &   Company,       c/o Officer,            One     John Deere        Place,
Moline, Illinois 61265;
     5.      Gateway         One     Lending      &     Finance,          c/o    Officer,      ATTN:
Payoff Department,            160 N.       Riverview Drive,              Suite 100,        Anaheim,
California 92808.




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  o~~!~~
  -  ..
\,. ~ O A N NUMIER                             LOAN NAME                       ACCT. NUMBER                         NOTE DATE                           INITIALS
               57823                        LOGAN E, VIERS                          873234                           01/14/15                        WBW-464110
           NOTE AMOUNT                      INDEX tw/Marglnl                         RATE                        MATURITY DAT£                      LOAN PURPOSE
            '75,218.42                        Not Applicable                       6.090'1(,                         01/14/15                          Agrlcuh:ural
                                                                              Crodltor UN Only




                                                                       PROMISSORY NOTE
                                                                        (Agricultural - Single Advance)



  DATE AND PAATtEI. Th• date of this Promissory Note (Note) 11 January 14, 2015. The panies and their addreaaes are:


       LENDER:
           CUMBERLAND SECURITY BANK
           107 S. Main St
           Sornoroot, KY 42501
           Telephone: 15061 879-9381

       BORROWER:
           LOGAN E. VIERS
           5189 EAST HWY 835
           SCIENCE HILL, KY 42553


  1. DEFINITIONI. At used in this Note, the termt have the following meanings:
       A. Pronoun,. The pronouns •1," "me,• and "my" refer to Heh Borrower signing this Note, Individually and together with their heirs, successors and a11lgns,
       and Heh other peraon or legal entity !Including guarantors, endorsers, and sureties) who agree, to pay this Note. "You" end "Your" refer to the Lender, any
       participants or 1yndlcator1, 1ucceHor1 and H1lgna, or •ny peraon or comp•ny that acquires an Interest In the Loan.
       I. Note. Not• refer• to thia doc:ument, and •ny extenalons, ren• wala, modifications and aubstitutions of this Note.
       C. Loan. Loan refers to this transaction generally, inc:ludlng obUg1tions and dutiea arising from the terms of all documents prepared or submitted for this
       tran11ction auch II appllc1tlons, security 1grHment1, dltcloaurH or notes, and this Note.
       D. Loan Dooum• nt1. Loan Documente refer to ell th• documents executed 11 1 part of or in connection with the Loan.
                              i;
       ,. Prop«ty. Property any property, reel, peraonal or intangible, that MCures my performance of the obligation• of this Loan.
       F. Peroent. Rates and rate change llmitationt are expre11ed H annuelized percentages.
       G. Doler Amount•. All dollar amount, will be payable In lawful money of the United St• tH of America.
  2. PROMISE TO PAY. For value received, I promlH to pay you or your order, at your address, or at such other location as you may designate, the principal • um of
  $75,218.42 (Prlnolpal) plut intere1t from January 14, 2015 on the unpaid Principal balance until this Note matures or this obligation 11 accelerated,
  3. INTEREST. lntereat wUI accrue on the unpaid Principal balance of this Note at the rate of 8.090 percent Unt.,.at Rate).
      A. Poat•M• turlty lnternt. After maturity or accaleration, lnterett will accrue on the unpaid Principal balance of thi1 Not• at the Interest Rate In effect from
      time to time, until paid In lull.
      8. Maximum lntereat Amount. Any amount HNINd or collected H interett under the term, of 1h11 Note will be limited to the maximum lawful amount of
      interest allowed by ,tat• or federal law, whichever Is greater. Amounts collected in excess of the maximum lawful amount will be applied first to the unpaid
      Principal balance, Any remainder will be refunded to me.
      C, Statutory Authority, The amount HHHed or collected on this Note is authorized by the Kentucky usury laws under Ky. Rev. Stat. Ann. Ch. 286, Subtitle
      e.
      D. Acc:n,el. lnt•est accrues using an Actual/365 dav• counting method.

  4. ADDITIONAL CHARGES. Aa addltional consideration, I agrH to pay. or have paid, thete additional f • H and charges.
      A. Nonrefundable F... and Charge•. The following fees are eamed when collected and will not be refunded if I prepay this Note before tha scheduled maturity
      date.
            Credtt Repon. A(nl Credit Report fee of $9.42 payable from the loan proceeds,
            Document Preparation. A(n) Document Preparation fH of • 199.00 payable from the loan procHds.
            UCC Recotcllng, A(n) UCC Recording fee of • 10.00 payable from the loan proceeds.

  5. REMEDIAL CHARGES. In addition 10 inteJHt or other finance charges, I agree that I will pay these additional feas bued on my method and pattern of paymant.
  Additional remedial charges may be described elHwhere In thit Note,
      A. Lala Charge. If a paymant la more than 15 d1y1 late, I will be charged 6,000 percent of the Amount of Payment or $2&0,00, whichever i1 leas. I will pav
      thi1 late charge promptly but only once for each late payment.

  8, GOVERNING AGREEMENT. Thi• Note is further governed by the Commercial Loan Agreement executed ~tween you and me H a part of this Loan, as
  modified, amended or supplemented. The Commercial Loan Agreement states the terms end conditions of this Note, Including tha terms and conditions under
  which the maturity of thit Note may be accelerated. When I 1lgn this Note, I reprasent to you that I have reviewed and am In compliance with the terms contained
  in the Commercial Loan Agreement,
  7. PAYMENT. I agree to pay thi1 Note in 11ingle payment of 111 unpaid Princ:ipal and accrued interest on January 14, 2018.
  Paymenta will be rounded to the naarest t.01. With the final payment I also 1gr• 1 to pay any additional fns or charges owing and the amount of any advances
  you hava m1d1 to other• on my behalf. Payments scheduled to be paid on the 29th, 30th or 31st day of a month that contains no such day will, Instead, be made
  on th• latt day of auch month,

  8. PREPAYMENT. I may prepay thle Loan In full or In part at any time. Any partial prepayment will not excuse any later scheduled payments until I pay in full.
  9. LOAN PURPOSE. The pwi:,011 of this Loan Is to purchase cattle.
  10. SECURITY. Tha Loan 11 sacured by separata Hcurity instruments prepared together with this Note ea follows:




x
       Document Neme                                                   Parties to Document
       Commercial Loan And Security Agreement - LOGAN E.               LOGAN E. VIERS
       VIERS


  11, DUE ON SALE OR ENCUMBRANCE, You m,y, at yol.N' option, declare the entire balance of this Note to be immediately due and payable upon the creation of,
  or contract for th• creation of, any lien, encumbrance, transflf' or sale of 111 or any part of the Property. Thia right 11 subject to the restrictions imposed by faderal
  law, H appUcabla. However, If I am In default under this Agreement, I may not aell any Products that are farm products or inventory derived from farm products
  even in the ordinary courH of business.
  12. WAIVERS AND CONSENT, To the extent not prohibited by law, I waive protest, presentment for payment, demand, notice of acceleration, notice of intent to
  accelerate and notice of di1honor.
  LOGAN E, VIERS
  Kentucky Promlasory Note                                                                                                                     Initials
  KY/4CMCCRARE00000000000676016N                             Watters Kluwer Financial Services 0 1996, 2015 Bankers SystemsN                            Page 1
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    A. Addltlonel WM•• ly Borrower. In addition, I, and any p• rty to thia Not• • nd Loan, to the extent permitted by l• w, consent to certain actions yoy may
    take, and generally waive defen1H that may b• av1il • bl1 band on theH actions or based on the atatus of • party to this Not,.
          '11 You may ranew or extend payment, on thi1 Note, regardlesa of the numbef of such renewal, or extensions.
          121 You may releeH any Borrower, er,dorNr, guarantor, aurety, eccommod• tion maker or any other co-1lgner.
          (3) You m1y rel11s1, 1ub1titut1 or impair any Prap1rty aecurlng thi1 Note.
          (4) Vou,   or any inatltutlon participating in thi1 Note, may Invoke your right of set-off,
          Ill You may enter Into any aal11, repurch• an or participations of this Not, to any person in any amounts and I waive notice of such salas, repurchaus
          or participation•.
          Ill I agrH that any of u1 9igning this Note aa a Borrower is authorized to modify the terms of this Note or any instrument securing, guarantying or
          relating to thia Note.
          (71 I agrH that you may inform any party who guarentHs this Loan of any Loan accommodations, renewals, extenalona, modifications, substitutions or
          future ldvJIMCIL
    8. No Waiver By Lendef. Your course of deating, or your forbearance from, or delay in, the exarciae of any of your rights, remedies, privileges or rtght to insist
    upon my atrict performance of any provi9ion1 contained in this Note, or any other Loan Document, shall not be construed H a waiver by you, unless any such
    waiver it In writing ind 11 lignad by yoy,

13. COMMISIIONI. I understand and • grff that you lor your affiliate) will earn commissions or fa11 on any insurance products, end may earn such fns on other
aervices that I buy through you or your • ffillate.

14. APPLICABLE LAW. This Note 11 govemed by the l• ws of Kentucky, the United State• of America, end to the extant required, by th• l• ws of the jurisdiction
where the Property 11 k>clted, except to the extent • uch state l1w1 are prHmpt1d by federal law. In the event of a disputa, the exclusive forum, venue and place
of jurisdiction will be In Kentucky, unl111 otherwiae required by l• w.

1 I, JOINT AND INDIVIDUAL UAl&LITY AND SUCCESSOR&, My obfigatlon to pay the Loan It independent of the obligation of any other person who h11 also
agreed to pay it. Vou may • ue me alone, or anyone else who Is obligated on the Loan, or any number of us together, to collect th• Loan. Extending the Loan or
new obtiption1 under the Loan, will not affect my duty under the Loan and I will still be obligated to pay th• Loan. Thia Note shall inure to the benefit of and bl
enforceable by you end you, aucce11or1 and assign• and shall b1 binding upon end enforceable against me • nd my personal repre11ntatives, successors, heirs and
es • igns.
11. AMENDMENT, INTEGRATION AND SEVERABIUTY. This Not• may not be amended or modified by oral agrHm1nt. No amendment or modification of this
Note is effective unles1 made in writing and executed by you end me. This Note and the other Loan Documents ere the complete and final expreaslon of the
agreement. If any provi1ion of thia Not, i1 unenforc11ble, than the un1nforc• -bl1 provision will be uvered end the remaining provi1ion1 will still be enforceable.
No present or future egrnmant aecurlng any other debt I owe you wilt secure the payment of this Lo• n if, with respect to this loan, you fail to fulfill any nec1111ry
requirement, or conform to any limitations of Ragulatlons Z and X that era required for loans secured by the Property or If, es a result, this Loan would become
subjeet to Section 870 of the John Warner National OefenH Authorization Act for Fi1cal Year 2007.
17. INTERPRETAT.ON. Whenever used, the singuter include, the plural and the plural includes the singular. The section headings are for convenience only end are
not to be used to interpret or define the term• of thi1 Note,

18. NOTICE, FINANCIAL REPORTS AND ADDITIONAL DOCUMENT&. Unle11 otherwise required by law, any notice will be given by delivering it or mailing it by
first cl111 mall to the appropriate party' • addr11• Hated In the DATE ANO PARTIES 11ction, or to any other 1ddr111 dHignated in writing. Notice to one Borrower
wiU bl deemed to be notice to 111 Borrowa,s. I will inform you in writing of any change in my name, 1ddre11 or other application information, I egrn ta aign,
deliver, and file any additional documents or certiflcadon1 that you may consider neceaaary to perfect, continue, and preaarva my obligations under this Loan and
to confirm your lien 1t1tua on any Property. Time Is of the etsence.

18. CREDIT INFORMATION. I 1gr11 to aupply you with whatever Information you r1110n1bly request. You will make request, for this information without undue
frequency, and will give me re11oneble time in which to supply the Information.

20. ERRORS AND OMIISIONI, I agree, if raquo1ted by you, to fully cooperate in the correction, if necessary, in the re11oneble discretion of you of any and all
loan closing document• 10 that all document• accurately describe the loan between you and me. I agra• to assume ell costs including by way of illustration and
not limitation, actual exp.nus, legal fffs end marketing k)1se1 for falling to reasonably comply with your requ1ats within thirty (30) days.

21, SIGNATURES. By signing, I agrH to the term1 contained in this Note. I al10 acknowledge receipt of a copy of this Note.




                                                                        Date
                                                                                l
                                                                                 0Ws-
                                                                                  I

    LENDER:
         Cumberland Security Bank




LOGAN E. VIERS     •
Kentucky Promleeo,y Note                                                                                                                               Initials
KY/4CMCCRAREOOOOOOOOOOOll711015N                                       Wolters Kluwer Financial Services 0 1996, 2016 Bankers SystemsTM                           Paga 2
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  (1 Cumberland Sl.::CURITY B,\NK
                  , I   o•   J.   O • '. ,,"   : •:   ~   •'. ,   i,!   I   ;



                                                                                                                                                                                  INITIALS
                                                                                LOAN NAME                   ACCT. NUMBER                           NOTE DATE
( ~ L O A N NUMBER
           57823                                                            LOGAN E. VIERS                      873234                              01125116                    WBW-484110

         NOTE AMOUNT                                                    INDEX Cw/Matglnl                         RATE                         MATURITY DATE                    LOAN PURPOSE

            '75,218.42                                                          Not Applicable                  6.590%                              06125116                     Agricultural
                                                                                                           Creditor UH Only




                                                                                                     PROMISSORY NOTE
                                                                                                     (Agricultural - Single Advance)
                                                                                                            RENEWAL NOTE



  DATE AND PARTIES. The date of this Promissory Note INotel it January 25, 2016. The parties and their addresses are:


      LENDER:
          CUMBERLAND SECURITY BANK
            107 S. Main St
            Somerset, KY 42601
            Telephone: 18081 879-9361

      BORROWER:
          LOGAN E. VIERS
            5188 EAST HWY 835
            SCIENCE HILL, KY 42553


  1. DEFINITIONS. As uad in this Note, the terms have the following meanings:
      A, Pronoun•• The pronoun, "I," "me," and "my• refer to each Bonower signing this Note, individually and together with their heirs, successors and assigns,
      and each other per1on or legal entity {Including guarantors, endorsers, and sureties) who agrees to pay thi• Note. ~vou" and •vour· ref• r to the Lender, any
      participants or Iyndicator1, succHlors and assigns, or any person or company that acquires an interest in the Loan.
      I. Note. Note refer, to this document, and any extensions, renewals, modifications and substitutions of thiI Note.
      C. Loan. Loan refers to this tranHction generally, including obligations and duties arising from the terms of all documents prepared or submitted for this
      transaction such H applications, security agrnmentI, disclosures or notes, and thia Note.
      D. Loan Dooum1nts. Loan Documents refer to all the documents executed as a part of or in connection with the Loan.
      E. Property, Property is any property, real, personal or intangible, that secures my p• rformanc • of the obligations of this Loan.
      F. Percent. Rates and rate change limitations ere expr • ssed as annualized percentages.
      G. Dollar Amounts, All dollar amounts will be payable in lawful money of the United States of America.
  2. RENEWAL. This Note is a renewal of the following descritMd note:

        Note D1te                                                                                     Note Number                                                                 Note Amount
        Janu1ry 14, 2015                                                                              I 57823                                                                      $75,218.42


  I hava requested that the note listed in the table above be renewed. The remaining balance of the note listed in the tabla above is $75,218.42.

  3, PROMISE TO PAY. For value received, I promi1e to pay you or your order, at your addrest, or at such other location as you may designate, the principal sum of
  $715,218.42 (Prlncipall plus interest from January 25, 2016 on the unpaid Principal balance until this Note matures or this obligation is accelerated.

  4. INTEREST. Interest will accrue on the unpaid Principal balance of this Note at the rate of 6.590 percent Unt• rest R•tel.
      A. Po•t•M•turlty lntereat. Afte, maturity or acceleration, interest will accrue on the unpaid Principal balance of this Note at the Interest Rate in effect from
      time to time, until paid in full.
      B. Maximum lnterHt Amount. Any amount assessed or collected as interest under the terms of this Note will be limited to the maximum lawful amount of
      interest allowed by state OJ federal law, whichever is greater. Amounts collected in excess of the maximum lawful amount will be applied first to the unpaid
      Principal balance. Any remainder will be refunded to me,
      C. Statutory Authority. The amount asse11ed or collected on this Note is authorized by the Kentucky usury laws under Ky. Rev. Stat. Ann. Ch. 286, Subtitle
      6.                    •
      0. Accrual. Interest accrues using •n Actual/366 days counting method.
  S. ADDITIONAL CHARGES. A1 addition•! consideration, I agree to pay, or have paid, these additional fees and charges.
      A. Nonrefundable FHs and Charges. The following fees are earned when collected and will not be refunded if I prepay this Note before the scheduled maturity
      date.
            Credit Report. A(n) Credit Report fee of $20. 79 p•yable from separate funds on or before today's date.
            Document Prepar•tk>n. Aini Document Preparation fee of $ 250.00 payable from separate funds on or before today's date.

  I. REMEDIAL CHARGES. In •ddition to interest or other finance charges, I agrH that I will pay these additional fees based on my method and pattern of payment.
  Additional remedial charges may be deacribed elsewhere in this Note.
      A. Late Charge. If• p•vment is more th•n 15 days late, I will be charged &.000 percent of the Amount of Payment or 8260.00, whichever is less. I will pay
      this late charge promptly but onlv once for each late p•yment.

  7. GOVERNING AGREEMENT. This Note is further governed by the Commercial Loan Agreement executed between you and me as a part of thia Loan, as
  modified, amended or Iupplemented. The Commercial Loan Agreement states the terms and conditions of this Note, including the term• and conditions under
  which the maturity of thi1 Not• may be accelerated. When I sign this Note, I repre • ent to you that I have reviewed and am in compliance with the terms contained
  in the Commercial Loan Agreement.

  8. PAYMENT. I •gree to pay this Note in a single payment of all unpaid Principal and accrued interest on June 26. 2016.
 Pavments will be rounded to the nearHt $.01. With the final payment l al10 agree to pay any additional fees or charges owing and the amount of any advances
 you have made to others on my behalf. Payment• acheduled to be paid on the 29th, 30th or 31st day of a month that contains no such day will, instead, be made
 on the IHt d•v of IUCh month.

 9. PREPAYMENT. I may prepay this Loan in full or in part at any time. Any partial prepayment will not excuse any later scheduled payments until I pay in full.

  10. LOAN PURPOSE. The purpose of this Loan is Renewal of Note #67823; Orginally to purchase cattle.

 11. SECURITY. The Loan is secured by previously executed, separate security instruments, including the following:                                              See UCC Filing Filed 01/14/2016 File
 #2015-2745858-75; Feeder Cottle.

 12. GUARANTY. A Guarantv, dated January 2'5, 2016, from JAMES ALLEN GIRDLER (Guarantor) to you, guaranties the payment and performance of my debts as
 described in the Guaranty.

 LOGAN E. VIERS
 Kentucky Promisaory Note                                                                                                                                                               Initials
 KY/4K8LANTON00000000009766013N                                                                      Wolters Kluwer Financial Services   0 1996,   2016 Bankers SystemsT..                         Page 1


        IIPJ~~p~p~p~~~J,l.l,l,IH1,l,l,l'J'~tllJIII                                               3
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13. LIMITATIONS ON CAOSS-COLLATERALIZATION. The cross--co\lateralization clause on any existing or future loan, but not including this Loan, is void and
ineffective • s to this Loan, including any utension or refinancing.
The Loan is not secured by I previously executed Hcurity instrument if a non•possessory, non-purchase money security interest is created 1n "household goods" in
connection with a "consumer loan," H those terms are defined by federal law governing unfair and deceptive credit practices. The Loan is not secured by a
previoualy executed 11curity instrument if vou fail to fulfill any necessary requirements or fail to conform to any limitations of the Real Estate Settlement
Procedures Act, (Reoulatlon X), that are required fm loans secured bv the Property or if, as a result, the other debt would become subject to Section 670 of the
John Warner National DefenH Authorization Act for Fiscal Year 2007.
The Loan is not secured by a previously executed security instrument if you fail to fulfill any necesHry requiremen1S or fail to conform to any limitations of the
Truth in Lending Act, !Regulation Z), that are required for loans secured by the Property.

14. DUE ON SALE OR ENCUMBRANCE. You may, at your option, declare the entire balance of this Note to be immediately due and payable upon the creation of,
or contract for th• creation of, any lien, encumbrance, transfer or Hie of all or any part of the Property. This right is subject to the restrictions imposed by feder11I
law, as applicable. However, if I am in default under this Agrnment, I may not sell any Products that are farm products        °' inventory derived from farm products
even in the ordinary course of butiness.

11. WAIVERS ANO CONSENT. To the extent not prohibited by law, I waive protest, presentment for payment, demand, notice of acceleration, notice of intent to
accelerate and notice of dishonor,
    A. Addhkw!.a Waivers By Borrower. In addition. I, and any party to this Note and Loan, to the extent permitted by law, consent to certain actions you m1y
    take, and generally waive defenses that may be available based on these action, or baaed on the status of a party to this Note.
          111 You may renew or extend payments on this Note, regardleaa of the number of such renewals or extensions.
          12) You may release any Borrower, endorser, guarantor, surety, accommodation maker or any other co-signer.
          131 You may re~aae, substitute or impair any Property securing this Note.
          141 You, or any institution participating in this Note, may invoke your right of set-off.
          (!ii You may enter into any sales, repurchases or participations of this Note to any person in any amounts and I waive notice of such sales, repurchases
          or participations.
          Ill I agrH that any of us signing this Note as a Borrower is authorized to modify the terms of this Note or any instrument securing, guarantying or
          relating to this Note.
          (71 I agree that you may inform any party who guarantees this Loan of any Loan accommodations, renewals, extensions, modifications, substitutions or
          future advances.
    B. No Waiver By Linder. Your course of dealing, or your forbearance from, or delay in, the exercise of any of your rights, remedies, privileges or right to insist
    upon my strict performance of any provitions contained in this Note, or any other Loan Document, shall not be construed as a waiver by you, unless any such
    waiver is in writing and is signed by you.

11. COMMISSIONS. I understand and agree that you for your affiliate) will earn commissions or fees on any insurance products, and may earn such fees on other
services that I buy through you or your affiliate.

17. APPllCAILE LAW. This Not• is govern•d by the laws of Kentucky, the United States of America, and to the extent required, by the laws of the jurisdiction
where the Property is located, except to the extent such state laws are preempted by federal law. In the event of a dispute, the exclusive forum, venue and place
of jurisdiction will be in Kentucky. unle11 otherwise required by law.

18. JOINT ANO INDIVIDUAL LIABILITY AND SUCCESSORS. My obligation to pay the Loan is independent of the obligation of any othar person who has also
agreed to pay it, You may sue me alone, or anyone else who is obligated on the Loan, or any number of us together, to collect the Loan. Extending the Loan or
new obligations under the Loan, will not affect my duty under the Loan and I will still be obligtted to pay the Loan. Thia Note shall inure to the benefit of and be
enforceable by you and your successors and assigns and shall be binding upon and enforceable against me and my personal representatives, successors, heirs and
Hstgnl,

19. AMENDMENT. INTEGRATION ANO SEVERABILITY. This Note may not be amended or modified by oral agreement. No amendment or modification of this
Note is effective unle11 made In writing and executed by you and me. This Note and the other Loan Documents are the complete and final expression of the
agreement. If any provision of this Note is unenforceable, then the unenforceable provision will be severed and the remaining provisions will still be enforceable.
No present or future agrHment securing any other debt I owe you will secure the payment of this Loan if, with respect to this loan, you fail to fulfill any necessary
requirements or fail to conform to any limitations of the Truth in Lending Act (Regulation Z) or the Real Estate Settlement Procedures Act (Regulation XI that are
required for loans secured by the Property or if, as a result, this Loan would become subject to Section 670 of the John Warner National Defense Authorization Act
for Fiscal Year 2007.

20. INTERPRETATION. Whenever used, tho singular includes the plural and the plural includes the singular. The section headings are for convenience only and are
not to be used to interpret or define the terms of this Note.

21. NOTICE. FINANCIAL REPORTS ANO ADDITIONAL DOCUMENTS. Unless otherwise required by law, any notice will be given by delivering it or mailing it by
first class mail to the appropriate party's addrHs listed in the CATE ANO PARTIES section, or to any other address designated in writing. Notice to one Bonower
will be deemed to be notice to all Borrowers. I will inform you in writing of any change In my name, address or other application information. I agree to sign,
deliver, and file any additional documents or certifications that you may consider necessary to perfect, continue, and preserve my obligations under this Loan and
to confirm your lien status on any Property. Time is of the essence.

22. CREDIT INFORMATKJN. I agree to supply you with whatever information you reasonably request. You will make requests for this information without undue
frequency, and will give me reasonable time in which to supply the information.

23. ERRORS AND OMISSIONS. I agree, if requested by you, to fully cooperate in the correction, if necessary, in the reasonable discretion of you of any and all
loan closing documents 10 that all documents accurately describe the loan between you and me. I agree to assume all coats including by way of illustration and
not limitation, actual expenH1, legal fees and marketing losses for failing to reasonably comply with your requests within thirty (301 days.

24. SIGNATURES. By signing, I agree to the terms contained in this Note. I also acknowledge receipt of a copy of this Note.




    m""~
                                                                      Date
          LO       .


    LENDER:

          Cumberland Security Bank




                                                                              Date




LOGAN E. VIERS
Kentucky PromlaaOfy Note                                                                                                                                  Initials
KY/4KBLANTON00000000009765013N                                       Wolters Kluwer Financial Services ci1996, 2016 Bankers Systems'""                               Page 2


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          Case: 6:18-cv-00231-KKC Doc #: 7 Filed: 09/24/18 Page: 10 of 17 - Page ID#: 65



                                   1111111~11111111111111111111111111~
                                               CHANGE IN TERMS AGREEMENT
    Principal
   $25,000.00          I  Loan Date       I
                                     Maturity
                         02-23-2018 08-22-2018
                                                           I      Loan No
                                                                   57823           I     Call/ Coll
                                                                                                        I     Account
                                                                                                              673234           IOfficer
                                                                                                                                   WBW
                                                                                                                                          I   Initials

      References in the boxes ebove are for Lender's use only and do not limit the applicability of this document to any particular loan or item.
                                Any item above containing "• • •" has been omitted due to text length limitations.

 Borrower:       LOGAN E. VIERS                                                Lender:         CUMBERLAND SECURITY BANK
                 5186 EAST HWY 635                                                             Main Office
                 SCIENCE HILL, KY 42553                                                        107 S. Main Street
                                                                                               Somerset, KY 42501
                                                                                               1606) 679-9361


   Principal Amount: $25,000.00                                Interest Rate: 6.790%                  Date of Agreement: February 23, 2018
   DESCRIPTION OF EXISTING INDEBTEDNESS.             Original Note Date of January, 14,2015.----Promissory Note Number 57823----0riginal Note
   Amount $75,218.42.
).. DESCRIPTION OF COLLATERAL. See UCC Filing Dated 01/14/2015. File Number 2015-2745856-75; Feeder Cattle.
   DESCRIPTION OF CHANGE IN TERMS. Renewal of Note Number 57823.
   PROMISE TO PAY. LOGAN E. VIERS ("Borrower") promises to pay to CUMBERLAND SECURITY BANK ("Lender"), or order, in lawful money of
   the United States of America, the principal amount of Twenty-five Thousand Iii 00/100 Dollars ($25,000.00), together with Interest on the
   unpaid principal balance from February 23, 2018, calculated as described in the "INTEREST CALCULATION METHOD" paragraph using an
   lntereat rate of 6. 790%, until paid in full. The interest rate may change under the terms and conditions of the "INTEREST AFTER DEFAULT"
   HCtion.
   PAYMENT. Borrower will pay this loan In one prlnclpal payment of $26,000.00 plus interest on August 22, 2018. This payment due on
   August 22, 2018, will be for all principal and all accrued interest not yet paid. Unless otherwise agreed or required by appllcabla law, payments
   will be applied first to any accrued unpaid Interest es shown on the most recant statement or bill provided to Borrower (if no statement or bill
   has bHn provided for any reason, It shall be applied to the unpaid interest accrued since the last payment); then to principal; than to any escrow
   or reserve account payments as required under any mortgage, dead of trust, or other security instrument or security agreement securing this
   Note; and then to any late charges. Borrower will pay Lander at Lander's address shown above or at such other place as Lender may designate
   in writing. All payments must be made In U.S. dollars and must be received by Lender consistent with any written payment instructions provided
   by Lander. If a payment 11 made consistent with Lender's payment instructions but received after 4:00 PM Eastern Time, Lender will credit
   Borrower's payment on the next business day.
   INTEREST CALCULATION METHOD. Interest on this loan Is computed on a 365/365 simple interest basis; that is, by applying the ratio of the
   Interest rate over the number of days In a year 1366 during leap years), multiplied by the outstanding principal balance, multiplied by the actual
   number of days the principal balance Is outstanding. All interest payable under this loan is computed using this method.
   PREPAYMENT. Borrower agrees that all loan fees and other prepaid finance charges are earned fully as of the date of the loan and will not be
   subject to refund upon early payment (whether voluntary or as a result of default), except as otherwise required by law.        Except for the
   foregoing, Borrower may pay without penalty all or a portion of the amount owed earlier than it is due. Early payments will not, unless agreed
   to by Lender in writing, relieve Borrower of Borrower's obligation to continue to make payments under the payment schedule. Rather, early
   payments will reduce the principal balance due. Borrower agrees not to send Lender payments marked "paid in full", "without recourse•, or
   similar language. If Borrower sends such a payment, Lender may accept it without losing any of Lender's rights under this Agreement, and
   Borrower will remain obligated to pay any further amount owed to Lender. All written communications concerning disputed amounts, including
   any check or other payment instrument that indicates that the payment constitutes "payment In full" of the amount owed or that Is tendered
   with other conditions or limltatlons or as full satisfaction of a disputed amount must be malled or delivered to: CUMBERLAND SECURITY BANK,
   107 S. Main Streat Somerset, KY 42501.
   LATE CHARGE. If a payment is 15 days or more late, Borrower will be charged 5.000% of the regularly scheduled payment or $250.00,
   whichever Is less.
   INTEREST AFTER DEFAULT. Upon default, including failure to pay upon final maturity, the total sum due under this Agreement will continue to
   accrue interest at the interest rate under this Agreement.
   DEFAULT. Each of the following shall constitute an Event of Default under this Agreement:
        Payment Default. Borrower fails to make any payment when due under the Indebtedness.
       Other Defaults. Borrower fails to comply with or to perform any other term, obligation, covenant or condition contained in this Agreement
       or in any of the Related Documents or to comply with or to perform any term, obligation, covenant or condition contained in any other
       agreement between Lender and Borrower.
       False Statements. Any warranty, representation or statement made or furnished to Lender by Borrower or on Borrower's behalf under this
       Agreement or the Related Documents is false or misleading in any material respect, either now or at the time made or furnished or becomes
       false or misleading at any time thereafter.
       Death or Insolvency. The death of Borrower or the dissolution or termination of Borrower's existence as a going business, the insolvency
       of Borrower, the appointment of a receiver for any part of Borrower's property, any assignment for the benefit of creditors, any type of
       creditor workout, or the commencement of any proceeding under any bankruptcy or insolvency laws by or against Borrower.
       Creditor or Forfeiture Proceedings. Commencement of foreclosure or forfeiture proceedings, whether by judicial proceeding, self-help,
       repossession or any other method, by any creditor of Borrower or by any governmental agency against any collateral securing the
       Indebtedness. This includes a garnishment of any of Borrower's accounts, including deposit accounts, with Lender. However, this Event
       of Default shall not apply if there is a good faith dispute by Borrower as to the validity or reasonableness of the claim which is the basis of
       the creditor or forfeiture proceeding and if Borrower gives Lender written notice of the creditor or forfeiture proceeding and deposits with
       Lender monies or a surety bond for the creditor or forfeiture proceeding, in an amount determined by Lender, in its sole discretion, as being
       an adequate reserve or bond for the dispute.
       Events Affecting Guarantor. Any of the preceding events occurs with respect to any Guarantor of any of the Indebtedness or any
       Guarantor dies or becomes incompetent, or revokes or disputes the validity of, or liability under, any Guaranty of the Indebtedness
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                                                    CHANGE IN TERMS AGREEMENT
Loan No: 57823                                              (Continued)                                                                               Page 2

     evidenced by this Note.
     Adverse Change. A material adverse change occurs in Borrower's financial condition, or Lender believes the prospect of payment or
     performance of the Indebtedness is impaired.
LENDER'S RIGHTS. Upon default, Lender may declare the entire unpaid principal balance under this Agreement and all accrued unpaid interest
immediately due, and then Borrower will pay that amount.
ATTORNEYS' FEES: EXPENSES. Lender may hire or pay someone else to help collect this Agreement if Borrower does not pay. Borrower will
pay Lender that amount. This includes, subject to any limits under applicable law, Lender's reasonable attorneys' fees and Lender's legal
expenses whether or not there is a lawsuit, including reasonable attorneys' fees and legal expenses for bankruptcy proceedings (including
efforts to modify or vacate any automatic stay or injunction), and appeals. If not prohibited by applicable law, Borrower also will pay any court
costs, in addition to all other sums provided by law.
GOVERNING LAW. This Agreement will be governed by federal law applicable to Lender and, to the extant not preempted by federal law, the
laws of the Commonwealth of Kentucky without regard to its conflicts of law provisions. This Agreement has been accepted by Lender in the
Commonweahh of Kentucky.
CHOICE OF VENUE. If there is a lawsuit, Borrower agrees upon Lender's request to submit to the jurisdiction of the courts of Pulaski County,
Commonwealth of Kentucky.
DISHONORED ITEM FEE. Borrower will pay a fee to Lender of $30.00 if Borrower makes a payment on Borrower's loan and the check or
preauthorized charge with which Borrower pays is later dishonored.
RIGHT OF SETOFF. To the extent permitted by applicable law, Lender reserves a right of setoff in all Borrower's accounts with Lender (whether
checking, saving.a, or some other account). This includes all accounts Borrower holds jointly with someone else and all accounts Borrower may
open in the future. However, this does not include any IRA or Keogh accounts, or any trust accounts for which setoff would be prohibited by
law. Borrower authorizes Lender, to the extent permitted by applicable law, to charge or setoff all sums owing on the indebtedness against any
and all such accounts.
COLLATERAL. Borrower acknowledges this Agreement is secured by the following collateral described in the security instrument listed herein:
collateral described in a Commercial Security Agreement dated February 23, 2018.
CONTINUING VALIDITY. Except as expressly changed by this Agreement, the terms of the original obligation or obligations, including all
agreements evidenced or securing the obligation(s), remain unchanged and in full force and effect. Consent by Lender to this Agreement does
not waive Lender's right to strict performance of the obligation(s) as changed, nor obligate Lender to make any future change in terms. Nothing
in this Agreement will constitute a satisfaction of the obllgation(s). It is the intention of Lender to retain as liable parties all makers and
endorsers of the original obligation(s), including accommodation parties, unless a party is expressly released by Lender in writing. Any maker or
endorser, including accommodation makers, will not be released by virtue of this Agreement. If any person who signed the original obligation
does not sign this Agreement below, then all persons signing below acknowledge that this Agreement is given conditionally, based on the
representation to Lender that the non-signing party consents to the changes and provisions of this Agreement or otherwise will not be released
by it. This waiver applies not only to any initial extension, modification or release, but also to all such subsequent actions.
STATUTORY AUTHORITY. The amount assessed or collected on this note is authorized by the Kentucky usury laws under Ky. Rev. Stat. Ann.
Ch. 286, Subtitle 6.

PRIOR NOTE. Current Note Balance $25,000.00.
SUCCESSORS AND ASSIGNS. Subject to any limitations stated in this Agreement on transfer of Borrower's interest, this Agreement shall be
binding upon and inure to the benefit of the parties, their successors and assigns. If ownership of the Collateral becomes vested in a person
other than Borrower, Lender, without notice to Borrower, may deal with Borrower's successors with reference to this Agreement and the
Indebtedness by way of forbearance or extension without releasing Borrower from the obligations of this Agreement or liability under the
Indebtedness.
MISCELLANEOUS PROVISIONS. If any part of this Agreement cannot be enforced, this fact will not affect the rest of the Agreement. Lender
may delay or forgo enforcing any of its rights or remedies under this Agreement without losing them. Borrower and any other parson who
signs, guarantees or endorses this Agreement, to the extent allowed by law, waive presentment, demand for payment, and notice of dishonor.
Upon any change in the terms of this Agreement, and unless otherwise expressly stated in writing, no party who signs this Agreement, whether
as maker, guarantor, accommodation maker or endorser, shall be released from liability. All such parties agree that Lender may renew or extend
(repeatedly and for any length of time) this loan or release any party or guarantor or collateral; or impair, fail to realize upon or perfect Lender's
s·ecurity interest in the collateral; and take any other action deemed necessary by Lender without the consent of or notice to anyone. All such
parties also agree that Lender may modify this loan without the consent of or notice to anyone other than the party with whom the modification
is made. The obligations under this Agreement are joint and several.
PRIOR TO SIGNING THIS AGREEMENT, BORROWER READ AND UNDERSTOOD ALL THE PROVISIONS OF THIS AGREEMENT.                                                 BORROWER
AGREES TO THE TERMS OF THE AGREEMENT.

BORROWER:




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                                           CHANGE IN TERMS AGREEMENT
Loan No: ,57823                                    (Continued)                                                                                                Page 3



LENDER:




                      1.--Pf•. Vo,. 1'.4.21.005 Co51f. O-..H USA CorpeHtiOtl 1997, 20\1,   All A.ii,1'111   "-"°"· -
                                                                                                                   ICY C:\DH\Cfl\U'l\D20C,,C Tll-1167 PA-19
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   File amendment to this UCC        I     Return to search form       I
 FIie number:                  2015-2745856-75
 FIiing date:                  1/14/2015 4:28:40 PM
 Lapse date:                   1/14/2020 4:28:40 PM
 Status:                       A - Active



 ACTIONS
 Action ·                    FIie Date            Status
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 Initial financing Statement 1/14/2015 4:28:40 PM Active - Filed onllne



 NAMES    --· ··---· ····-··· ···-· ·----- --·-····· -·-· - - - - -
 Debtor/ Secured Party/ Flier Date Added                                                                               Address
 Debtor                                                                                                                5186 EAST HWY 635
                                                         1/14/2015 4:28:40 PM
 LOGAN E. VIERS                                                                                                        SCIENCE HILL KY 42553
 Secured Party                                                                                                         107 S. Main St
                                                         1/14/2015 4:28:40 PM
 Cumberland Security Bank                                                                                              Somerset KY 42501
 Flier                                                                                                                 107 s. Main St
                                                         1/14/2015 4:28:40 PM
 Cumberland Security Bank                                                                                              Somerset KY 42501



 ~OL~l]:RAL DESCRIPTION
 Date Flied           Collateral Description
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 1/14/2015 4:28:40 PM Feeder Cattle



 IMAGES                                                              ..... ····---··--·- ----·--· ··-··        .................•... - ·----- - - - - - ··---       -----·--···

 Document Type                                     PDF               Tiff Image FIie Date                                                        Pages
 UCC Filing - Initial financing
                                                   PDF                                              1/14/2015 4:28:40 PM                         1
 Statement




https://app.sos.ky.gov/ftucc/(S(hwlllschzxbpuq50q4yd33vj))/search.aspx?filing=991006                                                                            1/14/2015


                                         ---------------------                                                                        --
              Case: 6:18-cv-00231-KKC Doc #: 7 Filed: 09/24/18 Page: 14 of 17 - Page ID#: 69




UCC FINANCING STATEMENT
FOLLOW INSTRUCTIONS

 A. NAME & PHONE OF CONTACT AT FILER (optional)


 B. E-MAIL CONTACT AT FILER (optional)


 C. SEND ACKNOWLEDGMENT TO: (Name and Address)


     [Loan Servicing, Cumberland Security Bank                                                      7
      PO Box 70
      Somerset, Kentucky 42502

     L                                                                                              _J
                                                                                                                       THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY

1. DEBTOR'S NAME: Provide only !!!l! Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); If any part of the Individual Debtor's
     name will not flt In line 1b, leeve an of Item 1 blank, check here   D   and provide the Individual Debtor Information in item 10 of the Financing Statement Addendum (Form UCC1Ad)

       1a. ORGANIZATION'S NAME

OR
       1 b. INDIVIDUAL'S SURNAME                                                           FIRST PERSONAL NAME                                  ADDITIONAL NAME(S)/INITIAL(S)            SUFFIX

       VIERS
1 c. MAILING ADDRESS

5186 EAST HWY 635
                                                                                           LOGAN
                                                                                           CITY

                                                                                           SCIENCE HILL
                                                                                                                                                 E.
                                                                                                                                                STATE

                                                                                                                                                 KY
                                                                                                                                                          IPOST AL CODE

                                                                                                                                                           42553
                                                                                                                                                                                         COUNTRY

                                                                                                                                                                                        USA
2.   DEBTOR'S NAME: Provide only D Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor'• name); If any part of the Individual Debtor's
     name will not fit In line 2b, leave aft of Item 2 blenk, check here  D
                                                                         end provide the lndlvlduel Debtor information in item 10 of the Financing Statement Addendum (Form UCC1 Ad)

       2a. ORGANIZATION'S NAME
                                                                                                                                                                                                       '"

OR                                                                                                                                              ADDITIONAL NAMEIS)/INITIAL(S)           SUFFIX
       2b. INDIVIDUAL'S SURNAME                                                            FIRST PERSONAL NAME



2c. MAILING ADDRESS                                                                        CITY                                                 STATE     IPOSTAL CODE                  COUNTRY



3 SECURED PARTY'S NAME· (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY)• Provide only one Secured Party name C3a or 3bl
   3a. ORGANIZATION'S NAME

       Cumberland Security Bank
OR
       3b. INDIVIDUAL'S SURNAME          ·                                                 FIRST PERSONAL NAME                                  ADDITIONAL NAME(S)/INITIAL(S)           SUFFIX



3c. MAILING ADDRESS

107 S. Main St
                                                                                          CITY

                                                                                       Somerset
                                                                                                                                                STATE

                                                                                                                                                KY
                                                                                                                                                          IPOSTAL CODE
                                                                                                                                                           42501
                                                                                                                                                                                        COUNTRY

                                                                                                                                                                                        USA
4.   COLLATERAL: Thia financing otatement covers the following collateral:        Feeder Cattle




5.   Check   m if appllcoble and check ll!l!x one box: Collateral la      held in a Trust (188 UCC 1Ad, Item 17 and Instructions)         being administered by a Decedent's Personal Representative

6a. Check 2!Jll: If applicable and check 2J!x one box:                                                                                6b. Check S!!!!x If applicable and check 2!l!l£ one box:

          Publlc,-Flnance Transaction              M enufactured-Home Transaction              A Debtor 11 a Transmitting Utility                 Agricultural Lien        Non-UCC Rling

7.   ALTERNATIVE DESIGNATION (If applicable):          0    1.eAee/1.auor          Q    Consignee/Consignor           Q    Seller/Buyer          Q    Ballee/Bellor       O    Licerwea/Ucensor
8. OPTIONAL FILER REFERENCE DATA:



ACKNOWLEDGMENT COPY-                         UCC FINANCING STATEMENT (Form UCC1) (Rev. 04/20/11)                                            Wolters Kluwer Financial Serviceo UCC-1-0713 1/30/2013
         Case: 6:18-cv-00231-KKC Doc #: 7 Filed: 09/24/18 Page: 15 of 17 - Page ID#: 70



                                  ll~IMllllllffllllllllllllllffllUIIIIIII
                                                    COMMERCIAL GUARANTY

Borrower:       LOGAN E. VIERS                                                 Lender:         CUMBERLAND SECURITY BANK
                5186 EAST HWY 635                                                              Main Office
                SCIENCE HILL, KY 42553                                                         107 S. Main Streat
                                                                                               Somerset, KY 42501
                                                                                               (6061 679-9361
Guarantor:      JAMES ALLEN GIRDLER
                3350 EAST HWY 452
                EUBANK.KY 42567


 GUARANTEE OF PAYMENT AND PERFORMANCE. For good and valuable consideration. Guarantor absolutely and unconditionally guarantees
 full and punctual payment and satisfaction of the Indebtedness of Borrower to Lender, and the performance and discharge of ell Borrower's
 obligations under the Note and the Related Documents. This is a guaranty of payment and performance and not of collection, so Lender can
 enforce this Guaranty against Guarantor even when Lender has not exhausted Lender's remedies against anyone else obligated to pay the
 indebtedness or against any collateral securing the Indebtedness, this Guaranty or any other guaranty of the Indebtedness. Guarantor will make
 any payments to Lender or its order, on demand, in legal tender of the United States of America, in same-day funds, without set-off or
 deduction or counterclaim, and will otherwise perform Borrower's obligations under the Note and Related Documents.
 INDEBTEDNESS. The word "Indebtedness" as used in this Guaranty means ell of the principal amount outstanding from time to time and at any
 one or more times, accrued unpaid interest thereon and all collection costs and legal expenses related thereto permitted by law, reasonable
 attorneys' fees, arising from any end all debts, liabilities and obligations that Borrower individually or collectively or interchangeably with others,
 owes or will owe Lender under the Note and Related Documents and any renewals, extensions, modifications, refinancings, consolidations and
 substitutions of the Note and Related Documents.
 If Lender presently holds one or more guaranties, or hereafter receives additional guaranties from Guarantor, Lender's rights under all guaranties
 shall be cumulati11e. This Guaranty shall not (unless specifically provided below to the contrary) affect or invalidate any such other guaranties.
 Guarantor's liability will be Guarantor's aggregate liability under the terms of this Guaranty and any such other unterminated guaranties.
 DURATION OF GUARANTY. This Guaranty will take effect when received by Lender without the necessity of any acceptance by Lender, or any
 notice to Guarantor or to Borrower, and will continue in full force until all the Indebtedness shall have been fully end finally paid and satisfied and
 all of Guarantor's other obligations under this Guaranty shall have been performed in full. Release of any other guarantor or termination of any
 other guaranty of the Indebtedness shell not affect the liability of Guarantor under this Guaranty, A revocation Lender receives from any one or
 more Guarantors shall not affect the liability of any remaining Guarantors under this Guaranty.
 GUARANTOR'S AUTHORIZATION TO LENDER. Guarantor authoriles Lender, without notice or demand and without lessening Guarantor's
 liability under this Guaranty, from time to time: (A)       to make one or more additional secured or unsecured loans to Borrower, to lease
 equipment or other goods to Borrower, or otherwise to extend additional credit to Borrower; (Bl to alter, compromise, renew, extend,
 accelerate, or otherwise change one or more times the time for payment or other terms of the Indebtedness or any pert of the Indebtedness,
 including increases end decreases of the rate of interest on the Indebtedness; extensions may be repeated and may be for longer than the
 original loan term; (Cl to take and hold security for the payment of this Guaranty or the Indebtedness, and exchange, enforce, waive,
 subordinate, fail or decide not to perfect, and release any such security, with or without the substitution of new colleterel; (D) to release,
 substitute, agree not to sue, or deal with any one or more of Borrower's sureties, endorsers, or other guarantors on any terms or in any manner
 Lender may choose; IE) to determine how, when and what applicatlon of payments and credits shall be made on the Indebtedness; (F) to
 apply such security end direct the order or manner of sale thereof, including without limitation, any nonjudicial sale permitted by the terms of the
 controlling security agreement or deed of trust, as Lender in Its discretion may determine; (GI to sell, transfer, assign or grant participations in
 all or any part of the Indebtedness; end (H) to assign or transfer this Guaranty in whole or in part.
 GUARANTOR'S REPRESENTATIONS AND WARRANTIES. Guarantor represents and warrants to Lender that (A) no representations or
 agreements of any kind have been made to Guarantor which would limit or qualify in any way the terms of this Guaranty; (Bl this Guaranty is
 executed at Borrower's request end not et the request of Lender; (Cl Guarantor has full power, right and authority to enter into this Guaranty;
 (DI the provisions of this Guaranty do not conflict with or result in a default under any agreement or other instrument binding upon Guarantor
 end do not result in a violation of any law, regulation, court decree or order applicable to Guarantor; (El Guarantor has not end will not, without
 the prior written consent of Lender, sell, lease, assign, encumber, hypothecete, transfer, or otherwise dispose of all or substantially all of
 Guarantor's assets, or any interest therein; (F) upon Lender's request, Guarantor will provide to Lender financial end credit information in form
 acceptable to Lender, and all such financial information which currently has been, and all future financial information which will be provided to
 Lender is and will be true and correct in all material respects end fairly present Guarantor's financial condition es of the dates the financial
 information is provided; (G) no material adverse change has occurred in Guarantor's financial condition since the date of the most recent
 financial statements provided to Lender and no event has occurred which may materially adversely affect Guarantor's financial condition; (HI
 no litigation, clai .. 1, investigation, administrative proceeding or similar action (including those for unpaid taxesl against Guarantor is pending or
 threatened; (I) Lender has made no representation to Guarantor as to the creditworthiness of Borrower; and (J) Guarantor has established
 adequate means of obtaining from Borrower on a continuing basis information regarding Borrower's financial condition. Guarantor agrees to
 keep adequately informed from such means of any facts, events, or circumstances which might in any way affect Guarantor's risks under this
 Guaranty, and Guarantor further agrees that, absent a request for information, Lender shall have no obligation to disclose to Guarantor any
 information or documents acquired by Lender in the course of its relationship with Borrower.
 GUARANTOR'S WAIVERS. Except as prohibited by applicable law, Guarantor waives any right to require Lender (Al to continue lending
 money or to extend other credit to Borrower; (Bl to make any presentment, protest, demand, or notice of any kind, including notice of any
 nonpayment of the Indebtedness or of any nonpayment related to any collateral, or notice of any action or nonaction on the part of Borrower,
 Lender, any surety, endorser, or other guarantor in connection with the Indebtedness or in connection with the creation of new or additional
 loans or obligations; (C) to resort for payment or to proceed directly or et once against any person, including Borrower or any other guarantor;
 ID) to proceed directly against or exhaust any collateral held by Lender from Borrower, any other guarantor, or any other person; (El to give
 notice of the terms, time, end place of any public or private sale of personal property security held by Lender from Borrower or to comply with
 any other applicable provisions of the Uniform Commercial Code; (F) to pursue any other remedy within Lender's power; or (G) to commit any
 act or omission of any kind, or at any time, with respect to any matter whatsoever,
 Guarantor also waives any and all rights or defenses based on suretyship or impairment of collateral including. but not limited to, any rights or
 defenses arising by reason of (Al eny "one action" or "anti-deficiency" law or any other law which may prevent Lender from bringing any
 action, including a claim for deficiency, against Guarantor, before or after Lender's commencement or completion of any foreclosure action,

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either judicially or by exercise of e power of sale; (Bl any election of remedies by Lender which destroys or otherwise adversely affects
Guarantor's subrogation rights or Guarantor's rights to proceed against Borrower for reimbursement, including without limitation, any loss of
rights Guarantor mey suffer by reason of any lew limiting, qualifying, or discharging the Indebtedness; (Cl eny disability or other defense of
Borrower, of any other guarantor, or of any other person, or by reason of the cessation of Borrower's liability from eny cause whatsoever, other
than payment in full in legal tender, of the Indebtedness; (DI any right to claim discharge of the Indebtedness on the basis of unjustified
impairment of any collateral for the Indebtedness; (El eny statute of limitations, if at any time any action or suit brought by Lender against
Guarantor is commenced, there is outstanding Indebtedness which is not barred by any applicable statute of limitations; or (F) eny defenses
given to guarantors et lew or in equity other then actual payment end performance of the Indebtedness. If payment is made by Borrower,
whether voluntarily or otherwise, or by any third party, on the Indebtedness end thereafter Lender is forced to remit the amount of that payment
to Borrower's trustee in bankruptcy or to any similar person under any federal or state bankruptcy law or law for the relief of debtors, the
Indebtedness shell be considered unpaid for the purpose of the enforcement of this Guaranty.
Guarantor further waives and agrees not to assert or claim at any time eny deductions to the amount guaranteed under this Guaranty for eny
claim of setoff, counterclaim, counter demand, recoupment or similar right, whether such claim, demand or right may be asserted by the
Borrower, the Guarantor, or both.
GUARANTOR'S UNDERSTANDING WITH RESPECT TO WAIVERS. Guarantor warrants end agrees that each of the waivers set forth above is
made with Guarantor's full knowledge of its significance end consequences and that, under the circumstances, the waivers ere reasonable end
not contrary to public policy or lew. If any such waiver Is determined to be contrary to eny applicable lew or public policy, such waiver shell be
effective only to the extent permitted by lew or public policy.
SUBORDINATION OF BORROWER'S DEBTS TO GUARANTOR. Guarantor agrees that the Indebtedness, whether now existing or hereafter
created, shall be superior to eny claim that Guarantor mey now have or hereafter acquire against Borrower, whether or not Borrower becomes
insolvent. Guarantor hereby expressly subordinates any claim Guarantor may have against Borrower, upon eny account whatsoever, to any
claim that Lender mey now or hereafter have against Borrower. In the event of insolvency and consequent liquidation of the assets of Borrower,
through bankruptcy, by en assignment for the benefit of creditors, by voluntary liquidation, or otherwise, the assets of Borrower applicable to
the payment of the claims of both Lender end Guarantor shell be paid to Lender end shall be first applied by Lender to the Indebtedness.
Guarantor does hereby assign to Lender all claims which it mey have or acquire against Borrower or against eny assignee or trustee In
bankruptcy of Borrower; provided however, that such assignment shall be effective only for the purpose of assuring to Lender full payment in
legal tender of the Indebtedness. If Lender so requests, any notes or credit agreements now or hereafter evidencing any debts or obligations of
Borrower to Guarantor shall be marked with a legend that the same ere subject to this Guerenty and shall be delivered to Lender. Guarantor
agrees, and Lender is hereby authorized, in the name of Guarantor, from time to time to file financing statements end continuation statements
and to execute documents and to take such other actions as Lender deems necessary or appropriate to perfect, preserve and enforce its rights
under this Guaranty.
MISCELLANEOUS PROVISIONS. The following miscellaneous provisions ere e pert of this Guaranty:
    Amendments. This Guaranty, together with any Related Documents, constitutes the entire understanding and agreement of the parties as
    to the matters set forth in this Guaranty. No alteration of or amendment to this Guaranty shall be effective unless given in writing end
    signed by the party or parties sought to be charged or bound by the alteration or amendment.
    Attorneys' Faes: Expenses. Guarantor agrees to pay upon demand ell of Lender's costs and expenses, including Lender's reasonable
    attorneys' fees end Lender's legal expenses, incurred in connection with the enforcement of this Guaranty. Lender mey hire or pey
    someone else to help enforce this Guaranty, end Guarantor shell pey the costs end expenses of such enforcement. Costs end expenses
    include Lender's reasonable attorneys' fees end legal expenses whether or not there is e lawsuit, including reasonable attorneys' fees end
    legal expenses for bankruptcy proceedings (Including efforts to modify or vecete any automatic stay or injunction), appeals, and eny
    anticipated post-judgment collection services. Guarantor also shell pey all court costs and such additional fees es mey be directed by the
    court.
    Caption Haadlngs. Caption headings in this Guaranty ere for convenience purposes only end are not to be used to interpret or define the
    provisions of this Guaranty.
    Governing Law. This Guaranty will ba governed by federal law applicable to Lender end, to the extent not preempted by federal law, the
    laws of the Commonwealth of Kentucky without regard to itl conflicts of law provisions.
    Choice of Venue, If there is e lawsuit, Guarantor agrees upon Lender's request to submit to the jurisdiction of the courts of Pulaski County,
    Commonwealth of Kentucky.
    Integration. Guarantor further agrees that Guarantor hes read end fully understands the terms of this Guaranty; Guarantor has hed the
    opportunity to be advised by Guarantor's attorney with respect to this Guaranty; the Guerenty fully reflects Guarantor's intentions end perol
    evidence is not required to interpret the terms of this Guaranty. Guarantor hereby indemnifies and holds Lender harmless from all losses,
    claims, damages, end costs (including Lender's attorneys' feesl suffered or incurred by Lender es e result of any breach by Guarantor of the
    warranties, representations and agreements of this paragraph.
    Interpretation. In ell cases where there is more then one Borrower or Guarantor, then all words used in this Guaranty in the singular shall
    be deemed to have been used in the plural where the context end construction so require; end where there is more than one Borrower
    named in this Guaranty or when this Guaranty is executed by more then one Guarantor, the words "Borrower" end "Guarantor"
    respectively'shell mean ell and eny one or more of them. The words "Guarantor," "Borrower," end "Lender" include the heirs, successors,
    assigns, end transferees of each of them. If e court finds that any provision of this Guaranty is not valid or should not be enforced, that
    feet by itself will not mean that the rest of this Guaranty will not be valid or enforced. Therefore, e court will enforce the rest of the
    provisions of this Guaranty even if a provision of this Guaranty mey be found to be invalid or unenforceable. If any one or more of
    Borrower or Guarantor are corporations, partnerships, limited liability companies, or similar entities, it is not necessary for Lender to inquire
    into the powers of Borrower or Guarantor or of the officers, directors, partners, managers, or other agents acting or purporting to act on
    their behalf, and any indebtedness made or created in reliance upon the professed exercise of such powers shall be guaranteed under this
    Guaranty.
    Notices. Any notice required to be given under this Guaranty shell be given in writing, and shell be effective when actually delivered, when
    actually received by telefacsimile (unless otherwise required by lew), when deposited with e nationally recognized overnight courier, or, if
    mailed, when deposited in the United States mail, es first class, certified or registered mail postage prepaid, directed to the addresses
    shown near the beginning of this Guaranty. Any party may change its address for notices under this Guaranty by giving formal written
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     notice to the other parties, specifying that the purpose of the notice is to chenge the party's address. For notice purposes, Guarantor
     agrees to keep Lender informed at all times of Guarantor's current address. Unless otherwise provided or required by law, if there is more
     than one Guarantor, any notice given by Lender to any Guarantor is deemed to be notice given to all Guarantors.
    No Waiver by Lender. Lender shall not be deemed to have waived any rights under this Guaranty unless such waiver is given in writing and
    signed by Lender. No delay or omission on the part of Lender in exercising any right shall operate as a waiver of such right or any other
    right. A waiver by Lender of a provision of this Guaranty shall not prejudice or constitute a waiver of Lender's right otherwise to demand
    strict compliance with that provision or any other provision of this Guaranty. No prior waiver by Lender, nor any course of dealing between
    Lender and Guarantor, shall constitute a waiver of any of Lender's rights or of any of Guarantor's obligations as to any future transactions.
    Whenever the consent of Lender is required under this Guaranty, the granting of such consent by Lender in any instance shall not constitute
    continuing consent to subsequent instances where such consent is required and in all cases such consent may be granted or withheld in
    the sole discretion of Lender.
     Successors and Assigns. Subject to any limitations stated in this Guaranty on transfer of Guarantor's interest, this Guaranty shall be
     binding upon and inure to the benefit of the parties, their successors end assigns.
DEFINITIONS. The following capitalized words and terms shall have the following meanings when used in this Guaranty. Unless specifically
stated to the contrary, all references to dollar amounts shall mean amounts in lawful money of the United States of America. Words and terms
used in the singular shall include the plural, and the plural shall include the singular, as the context may require. Words and terms not otherwise
defined in this Guaranty shall have the meanings attributed to such terms in the Uniform Commercial Code:
    Borrower. The word "Borrower" means LOGAN E. VIERS and includes all co-signers and co-makers signing the Note and all their
    successors and assigns.
    Guarantor. The word "Guarantor" means everyone signing this Guaranty, including without limitation JAMES ALLEN GIRDLER, and in each
    case, any signer's successors and assigns.
     Guaranty. The word "Guaranty" means this guaranty from Guarantor to Lender.
    Indebtedness. The word "Indebtedness" means Borrower's indebtedness to Lender as more particularly described in this Guaranty.
    Lender. The word "Lender" means CUMBERLAND SECURITY BANK, its successors and assigns.
    Note. The word "Note" means the promissory note dated February 23, 2018, in the original principal amount of $25,000.00 from
    Borrower to Lender, together with all renewals of, extensions of, modifications of, refinancings of, consolidations of, and substitutions for
    the promissory note or agreement.
    Related Documents. The words "Related Documents" mean all promissory notes, credit agreements, loan agreements, environmental
    agreements, guaranties, security agreements, mortgages, deeds of trust, security deeds, collateral mortgages, and all other instruments,
    agreements and documents, whether now or hereafter existing, executed in connection with the Indebtedness.
EACH UNDERSIGNED GUARANTOR ACKNOWLEDGES HAVING READ ALL THE PROVISIONS OF THIS GUARANTY AND AGREES TO ITS
TERMS. IN ADDITION, EACH GUARANTOR UNDERSTANDS THAT THIS GUARANTY IS EFFECTIVE UPON GUARANTOR'S EXECUTION AND
DELIVERY OF THIS GUARANTY TO LENDER AND THAT THE GUARANTY WILL CONTINUE UNTIL TERMINATED IN THE MANNER SET FORTH
IN THE SECTION TITLED "DURATION OF GUARANTY". NO FORMAL ACCEPTANCE BY LENDER IS NECESSARY TO MAKE THIS GUARANTY
EFFECTIVE. THIS GUARANTY IS DATED FEBRUARY 23, 2018.

GUARANTOR:



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